                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA



 UNITED STATES OF AMERICA,

                       Plaintiff,
              v.

 COREY POTTER, et al.,                              Case No. 3:24-cv-00237-SLG

                       Defendants.


          ORDER RE UNITED STATES’ MOTION TO ENTER DEFAULT

       Before the Court at Docket 10 is the United States’ Motion to Enter Default

against all Defendants in this matter. Pursuant to Federal Rule of Civil Procedure

55(a), “[w]hen a party against whom a judgment for affirmative relief is sought has

failed to plead or otherwise defend, and that failure is shown by affidavit or

otherwise, the clerk must enter the party’s default.” Defendants Corey Potter, F/V

KNOT EZ LLC, Aleutian Tendering LLC, and Alaska Tendering Co. LLC were each

served the Complaint and Summons on February 7, 2025, yet no defendant has

made an appearance in this matter and the deadline for an answer or to otherwise

oppose the Complaint has passed. Defendants have each thus “failed to . . .

otherwise defend” against the judgment sought and that failure is shown in the

Court’s own records.1 Accordingly, Plaintiff’s Motion to Enter Default is GRANTED


1 See Fed. R. Civ. P. 55(a). Additionally, Local Civil Rule 11.5 provides that “[m]otions for entry of

default must include proof of service of the complaint per Fed. R. Civ. P. 4 and notice to appearing
parties.” This rule is satisfied by the Affidavits of Service of Summons at Dockets 6, 7, 8, and 9.




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and the Clerk of Court is directed to enter a default against Defendants Corey

Potter, F/V KNOT EZ LLC, Aleutian Tendering LLC, and Alaska Tendering Co.

LLC.

       IT IS SO ORDERED.

       DATED this 2nd day of May 2025.

                                                    /s/ Sharon L. Gleason
                                                    UNITED STATES DISTRICT JUDGE




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